        Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 1 of 9




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


                                       )
In re: DAILY FANTASY SPORTS LITIGATION )                        MDL No. 16-02677-GAO
                                       )
This Document Relates to:              )                        JURY TRIAL DEMANDED
                                       )
        �c�s                           )
                                       )
_________________ )
       [PROPOSED) FINAL APPROVAL ORDER AND ENTRY OF JUDGMENT

       This matter came for hearing on June 8, 2022 ("Final Approval Hearing"), to determine

whether the terms and conditions of the parties' Stipulation and Settlement Agreement dated July

28, 2021 ("Settlement Agreement") entered into by plaintiffs Leah Boast, Crystal Turner, Rebecca

McGuire, Michelle Hodge, Aurora Walker, and Hillary Williams, individually and on behalf of

the proposed Settlement Class (collectively, "Plaintiffs"), and defendants FanDuel Inc. and

FanDuel Deposits, LLC ("FanDuel" or "Defendants"; together with Plaintiffs, the "Parties"), and

the Settlement embodied therein, are fair, reasonable, and adequate, and whether final approval

should be granted. All due and adequate notice having been given, and the Court having considered

all papers filed and proceedings in this Action and otherwise being fully informed, and good cause

appearing therefore,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1.      This Final Approval Order and Entry of Judgment ("Order" or "Order and Final

Judgment") incorporates by reference the definitions in the Settlement Agreement, and all initial

capitalized terms used herein shall have the same meanings as set forth in the Settlement

Agreement, unless otherwise set forth below.

       2.      This Court has subject matter jurisdiction over the Action to approve the Settlement



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Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 2 of 9
Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 3 of 9
Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 4 of 9
Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 5 of 9
Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 6 of 9
Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 7 of 9
Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 8 of 9
Case 1:16-md-02677-GAO Document 500 Filed 06/08/22 Page 9 of 9




  June 8, 2022              /s/ George A. O'Toole, Jr.
